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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          8:04CR443
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )
                                          )          ORDER
KEVIN WARNER,                             )
                                          )
                   Defendant.             )

      IT IS ORDERED that:

      (1)    The defendant’s motion to continue sentencing (filing 53) is granted;

      (2) Defendant Warner’s sentencing is continued to Friday, August 5, 2005,
at 3:30 p.m., before the undersigned United States District Judge, in the Special
Proceedings Courtroom, Roman L. Hruska United States Courthouse, Omaha,
Nebraska. Since this is a criminal case, the defendant shall be present unless excused
by the court.

      DATED this 20th day of June, 2005.

                                              BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
